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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF LOUISIANA, MONROE DIVISION

    PHILLIP CALLAIS, LLOYD PRICE,
    BRUCE ODELL, ELIZABETH ERSOFF,
    ALBERT CAISSIE, DANIEL WEIR,
    JOYCE LACOUR, CANDY CARROLL
    PEAVY, TANYA WHITNEY, MIKE
    JOHNSON, GROVER JOSEPH REES,
    ROLFE MCCOLLISTER,                                Civil Action No. 3:24-cv-00122

    Plaintiffs,                                       Judge David C. Joseph

    v.                                                Circuit Judge Carl E. Stewart

    NANCY LANDRY, in her official capacity            Judge Robert R. Summerhays
    as Secretary of State for Louisiana,

    Defendant.




         MEMORANDUM IN SUPPORT OF ROBINSON INTERVENORS’ MOTION FOR
            CONTINUANCE OR, IN THE ALTERNATIVE, TO DECONSOLIDATE
                 PRELIMINARY HEARING FROM THE MERITS TRIAL

           This case has moved at breakneck speed, based largely on a schedule proposed by Plaintiffs

   and unopposed by Defendants. Doc. 43 (Unopposed Motion for Expedited Preliminary Injunction

   and Trial Schedule); Doc. 63 (Scheduling Order). Trial of this important and complex matter—

   which will determine the congressional representation of 4.6 million Louisianans for the rest of

   the decade—is scheduled to begin 68 days (and end 70 days) after Plaintiffs commenced this

   action. The Court entered that schedule before it determined the Robinson Intervenors

   (“Intervenors”) had a right to participate in the liability phase (on reconsideration of its earlier

   order denying them that right), and Intervenors thus had no input on the schedule. By the time the
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   Court granted Intervenors’ leave to participate in the liability phase, only twenty-four days

   remained before trial.

          While Intervenors have made every effort to hew to the Court’s schedule, it is clear that

   this highly compressed schedule has deprived them of the ability to fully develop and present their

   case and is incompatible with their due process rights. Intervenors have been unable to take

   meaningful fact discovery; have had to exchange expert reports and conduct expert discovery

   involving seven separate experts in only two weeks; and have been given only eight hours—to be

   shared with two other separately represented defendants—to present their case and cross-examine

   Plaintiffs’ witnesses. Respectfully, several of the Court’s pre-trial decisions, which Intervenors

   understand were driven by the perceived need to maintain the current schedule, have underscored

   and even aggravated that harm. This situation would be bad enough if next week’s hearing were

   only for preliminary relief—it is even more unjust and untenable for a full trial on the merits

   leading to a final judgment.

          The prejudice to Intervenors is magnified by the fact that neither of the other parties on the

   Defendants’ side are presenting a substantial factual or expert defense to Plaintiffs’ claims. The

   State has not proffered a single expert witness (including any expert witnesses to respond to any

   of the Plaintiffs’ array of experts) or designated a single fact witness for trial. The Secretary has

   gone even further. She is not defending the statute at all and has identified only one “may call”

   witness to testify about election administration, whose testimony appears to be relevant only to the

   timing of any remedy if the Court rules in Plaintiffs’ favor on liability. Thus, the defense against

   Plaintiffs' claims at the liability hearing has fallen almost entirely on the Intervenors, who as of

   yesterday will have been involved in the liability phase for exactly three weeks.




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           Intervenors therefore respectfully move the Court to continue the trial scheduled for April

   8-10 by three weeks. In the alternative, if the Court denies that request, Intervenors respectfully

   request that the Court deconsolidate the preliminary injunction hearing from the full trial on the

   merits and continue the preliminary injunction hearing by one week. In either event, Intervenors

   further request that the court set the trial for four days to allow each side to fully present its case.

                                             BACKGROUND

           Plaintiffs filed this case on January 31, alleging that SB8—which was enacted in response

   to court rulings finding the State of Louisiana in likely violation of Section 2 of the Voting Rights

   Act of 1965—is a racial gerrymander, Doc. 1, and moved for a preliminary injunction on February

   7, Doc. 17. Also on February 7, the Robinson Intervenors moved to intervene as a matter of right

   or permissively to defend the law. Doc. 18. The next day, this Court ordered that, once Plaintiffs

   served the Defendant Secretary of State, they contact the Court to determine a briefing and hearing

   schedule on both the preliminary injunction motion and Intervenors’ then-pending motion to

   intervene. Doc. 19. Six days later, on February 14, Plaintiffs opposed intervention. Doc. 33.

   Although the Court’s order implicated Intervenors’ then-pending motion, Plaintiffs never

   contacted Intervenors regarding scheduling. Ex. 1, Decl. of Stuart C. Naifeh (“Naifeh Decl.”) ¶ 3.

   Instead, they moved on February 19 for an expedited briefing schedule, Doc. 43, and asserted that

   briefing on the Intervention Motion was complete and the motion ripe for resolution (although

   Intervenors had yet to file a reply), Doc. 43-1 at 3.

           In that motion, Plaintiffs proposed an extraordinarily aggressive schedule for this case.

   They asked the Court to set a preliminary injunction hearing for March 25 and 26, and to

   consolidate that hearing with a full trial on the merits pursuant to Federal Rule of Civil Procedure

   65(a)(2). Doc. 43. The Secretary of State, the only other party to the case at that time, did not



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   oppose that motion. Id. Because Intervenors’ motion for leave to intervene was still pending, they

   had no opportunity to respond to Plaintiffs’ scheduling motion. Naifeh Decl. ¶ 3. By Order entered

   February 21, 2024, the Court scheduled a two-day trial, consolidated under Rule 65(a)(2),

   beginning April 8. Doc. 63. (In a subsequent order, the Court extended the trial to three days, but

   kept the April 8 start date. Doc. 130.) The Court also set expert designations and reports to be

   exchanged among the parties by March 22, 2024. Doc. 63.

          Since entry of the Court’s initial Scheduling Order, two new parties (or groups of parties)

   have joined the case. First, the State of Louisiana, through its Attorney General, moved to intervene

   as a defendant. Doc. 53. The State’s intervention motion was granted on February 26, 2024, after

   the Scheduling Order was in place. The named Defendant Secretary of State (who had not opposed

   consolidation of the preliminary injunction and trial or the expedited schedule) has subsequently

   made clear that she will not defend SB8 on its merits, leaving that effort to the State and the

   Intervenors. Doc. 101.

          Second, after initially granting the Robinson Intervenors motion to intervene only to the

   extent of permitting them to participate in any remedial hearing, Doc. 79, the Court subsequently

   granted Intervenors’ motion for reconsideration and permitted them to participate to a limited

   extent in the liability phase. Doc. 114. That motion was granted on March 15—twenty-four days

   before trial commenced, and more than three weeks after the Scheduling Order was entered. One

   week later, the Court held a status conference in which it told the parties that each side of the case

   would be limited to eight hours of trial time (including cross-examination), and that the three sets

   of Defendants, including Intervenors, would have to split the time amongst themselves. Doc. 130.

          The schedule set by the Court has not allowed Intervenors a fair opportunity to conduct

   discovery. For example, even though Intervenors were granted permission to intervene “for the



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   limited purpose of partaking in the remedial phase of trial,” on February 26, 2024, Doc. 79, at 7,

   and expressly requested Plaintiffs share any discovery they propounded or received on March 7,

   it was only through the Secretary’s counsel’s transmission of her responses and objections to

   Plaintiffs discovery requests on March 18 that Intervenors were made aware of the ongoing

   discovery in the case. Naifeh Decl. ¶¶ 4-5.

          Intervenors received Plaintiffs’ expert reports on March 22, 2024, a week after they were

   granted leave to participate in the liability phase. Naifeh Decl. ¶ 7. None of these reports were the

   same ones included in their motion for a preliminary injunction and indeed included two new

   witnesses unmentioned by Plaintiffs in any of their previous papers. Id. Intervenors were then

   required to submit rebuttal reports by March 27, a mere three business days thereafter. Id. Data

   relied upon by one expert, Dr. Stephen Voss, was not provided to Intervenors when the reports

   were submitted. Naifeh Decl. ¶ 8. Plaintiffs submitted three more expert reports on April 1, a week

   before trial, including a report by a brand-new purported rebuttal expert, Dr. Ben Overholt. Naifeh

   Decl. ¶ 10; see also Doc. 145-1, at 2-5. Dr. Overholt revealed at his deposition on April 4, 2024,

   that he had relied on code to conduct his analysis that Plaintiffs’ counsel had failed to turn over

   along with his report. Naifeh Decl. ¶ 10; see also Doc. 155, at 6. That material was finally provided

   by Plaintiffs’ counsel on Friday April 5, the Friday before the commencement of trial. Naifeh Decl.

   ¶ 10; see also Doc. 155, at 6; Doc. 155-5.

          Even though Dr. Overholt’s testimony was not timely disclosed by the Court-imposed

   deadline for the submission of expert reports on March 22, and was improperly offered as rebuttal

   testimony given that his principal opinion is that Congressional District 6 in SB 8 will not

   “perform” for the Black voters in that district, which does not “contradict or rebut evidence on the

   same subject matter” offered by any opposing expert, Fed. R. Civ. P. 26(a)(2)(D)(ii), the Court



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   deferred ruling on Intervenors’ motion until the witness was offered at trial. Doc. 152, at 2. The

   Court simultaneously denied Intervenors’ request to offer any rebuttal testimony to Dr. Overholt

   from any new expert witness on the ground that the Court believed it was too close to trial to add

   an expert witness.

          At the Final Pretrial Conference on April 4, 2024, Intervenors sought a reciprocal addition

   of a mere two hours for presentation of evidence for both sides, given the complexity of the issues

   presented in this case and the number of witnesses the parties have designated to testify—a total

   of ten “will call” witnesses and an additional nine “may call” witnesses. As Intervenor noted in

   making the request, the additional time (resulting in twenty total hours of trial time) would not

   prevent the trial from being completed in the scheduled three days. Docs. 152, 63, 130. The Court,

   however, declined to allow any additional time. While the Court stated that “upon completion of

   each case-in-chief and for good cause shown, the Court may revisit this issue and consider

   awarding additional time,” Doc. 152, the parties cannot assume that any such request will be

   granted, and thus must plan and present their cases within the eight-hour time the Court has

   allowed.

                                             ARGUMENT

      A. The Court Should Continue the Trial

          “It [is] highly prejudicial” to compel Intervenors “to pull together their entire case . . . on

   such short notice.” Dillon v. Bay City Construction Company, 512 F.2d 801, 804 (5th Cir. 1975).

   The Supreme Court has long made clear that due process requires that a party have the opportunity

   to develop and present evidence in support of its case. See, e.g., Fayerweather v. Ritch, 195 U.S.

   276, 299 (1904). In addition, as the courts have recognized, “discovery is necessary for the parties

   to adequately pursue and defend this case and to meaningfully prepare for trial,” Carollo v. ACE


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   Am. Ins. Co., No. CV 18-13330-WBV-KWR, 2019 WL 4038602, at *4 (E.D. La. Aug. 27, 2019),

   and Federal Rule of Civil Procedure 26 gives them that right, see, e.g., Dillon, 512 F.2d at 804.

          Intervenors have been deprived of those rights in this case, based on a timeline that the

   Court set following Plaintiffs’ motion for an expedited schedule—which Intervenors had no

   opportunity to weigh in on, and which was unopposed by a Defendant who concededly is not

   defending against Plaintiffs’ claims. This schedule has forced Intervenors to forgo most discovery

   and limit the little discovery they could pursue. Next week, it will force them to present a complex

   case in less than eight hours.

          In particular, Intervenors have been prejudiced by a trial schedule that is incompatible with

   an appropriate discovery process. By the time Intervenors were belatedly granted permission to

   vindicate their rights in defense of SB8, only fifteen business days stood between them and trial.

   The Court made clear at a status hearing a week later that the litigants would have to shoehorn any

   discovery into the timeframe before trial. That approach has had the result of depriving Intervenors

   of a meaningful opportunity to conduct discovery.

          The prejudice to Intervenors is amplified by the fact that they are the only parties on the

   defense side presenting a substantial factual or expert defense at the liability hearing. The State

   has not proffered any expert witnesses and has not identified any fact witnesses it intends to call

   at trial. Doc. 157. The Secretary concededly is not defending the statute at all and has identified

   only one “may call” witness to testify about election mechanics, whose testimony appears to be

   relevant only to the timing of any remedy if the Court rules in Plaintiffs’ favor on liability. Doc.

   136. In contrast, Plaintiffs have submitted reports from four experts (one of whom they

   subsequently decided not to call at trial), and have identified five “will call” witnesses (including

   three experts) and another “may call” witness. Doc. 141. The Robinson Intervenors have similarly



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   identified five “will call” witnesses (including three experts, two of whom were called to respond

   to testimony by Plaintiffs’ experts) and four additional “may call” fact witnesses, and have asked

   the Court for leave to present an additional expert to respond to Dr. Overholt, one of Plaintiffs’

   experts. Doc. 143. Thus, the defense against Plaintiffs’ claims at the liability hearing has fallen

   almost entirely on the Intervenors.

           The impairment of Intervenors’ ability to conduct meaningful discovery is particularly

   prejudicial in this case, which centers on questions of legislative intent. Racial gerrymandering

   claims require a court to undertake a “holistic analysis” that accounts for the “districtwide context”

   to determine “the legislature’s predominant motive for the design of the district as a whole.”

   Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178, 192 (2017). Because intent can be difficult

   to ascertain, this analysis typically involves “‘direct evidence’ of legislative intent, ‘circumstantial

   evidence of a district’s shape and demographics,’ or a mix of both,” Cooper v. Harris, 581 U.S.

   285, 291 (2017) (citation omitted), often relying on expert testimony. In the ordinary course, a

   litigant seeking to probe legislative intent would also seek discovery from the legislature. Such

   discovery can be time-consuming because it can implicate legislative privilege issues that the

   parties and potentially the Court need to work through. See, e.g., La Union Del Pueblo Entero v.

   Abbott, 68 F.4th 228 (5th Cir. 2023) (interlocutory appeal following denial of legislative privilege

   protections). Here, the schedule has provided the Robinson Intervenors no time to conduct such

   discovery.

           Worse yet, the schedule afforded Intervenors virtually no time to prepare expert reports.

   See In re Landry, 83 F.4th at 305 n.5 (noting importance of expert testimony to cases involving

   redistricting). Based on the Court’s order, Plaintiffs served their expert reports on Friday, March

   22, 2024. Naifeh Decl. ¶ 7. Intervenors’ affirmative expert reports and rebuttal reports were due



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   on Wednesday, March 27—three business days later—based on an agreement between the parties

   reached in light of the Court’s trial schedule. Id. Plaintiffs’ counsel resisted making even a single

   Plaintiff available for a deposition and refused to make their expert witnesses available for

   depositions of more than three hours. Naifeh Decl. ¶¶ 6, 9. Ultimately Intervenors were only able

   to spend a total of eight hours to depose witnesses. But see Fed. R. Civ. Proc. 30(d)(1) (ordinarily,

   each deposition can last up to seven hours). And these depositions involved complex expert reports

   using a variety of technical methods. Finally, at the eleventh hour, Plaintiffs disclosed an improper

   “rebuttal” report that far exceeds the scope of any existing report or opinion, and that reflects work

   begun shortly after the complaint was filed and withheld until the eve of trial. See Docs. 145, 155;

   see also Conway v. Chem. Leaman Tank Lines, Inc., 687 F.2d 108, 112 (5th Cir. 1982) (“[T]his

   Court has acknowledged that continuance is a preferable remedy for prejudicial error from unfair

   surprise.”). Taken together, the Court’s unrelenting schedule has “inhibited altogether the

   extensive discovery and investigation necessitated” by the claim “and to which [the parties] had a

   right under [Federal Rule of Civil Procedure] 26.” Dillon, 512 F.2d at 804.

          Several of the Court’s subsequent orders, which the Court has explained have been largely

   driven by the trial schedule, have compounded this harm, making it impossible for Intervenors to

   effectively present their case. The Court has given each side of the dispute eight hours over three

   days to present their case, including any cross-examination time. Robinson Intervenors must split

   that time with both the Defendant Secretary of State and Intervenor-Defendant State of Louisiana.

   Doc. 130. Although it will not present any witnesses, the State has reserved 15 minutes per witness

   called by any other party for its own questioning. For the ten “will-call” witnesses designated by

   the Plaintiffs and the Robinson-Intervenors, that amounts to 2.5 hours, leaving Intervenors with

   only 5.5 hours to present their case and cross-examine Plaintiffs’ witnesses—assuming the



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   Secretary does not need some of that time for her “may call” witness. That is insufficient time for

   a fact-heavy case involving complex witness testimony. In contrast, a recent racial gerrymandering

   trial in South Carolina took eight trial days and involved “the testimony of numerous witnesses”

   and “hundreds of exhibits.” S.C. State Conf. of NAACP v. Alexander, 649 F. Supp. 3d 177, 183

   (D.S.C. 2023); see also Bethune-Hill v. Va. State Bd. of Elections, 326 F. Supp. 3d 128, 143 (E.D.

   Va. 2018) (considering evidence presented at initial four-day trial and a second four-day trial after

   remand); Ala. Legislative Black Caucus v. Alabama, 231 F. Supp. 3d 1026, 1032 (M.D. Ala. 2017)

   (four-day bench trial supplemented after remand by hundreds of additional exhibits).1 It would be

   challenging for Intervenors to fully put on their case in (some subdivided portion of) eight hours

   under the best of circumstances. It is near-impossible for them to do so under the current

   circumstances. Without a sufficient opportunity to depose Plaintiffs’ experts, Intervenors, despite

   their best efforts, may have to engage in time-consuming cross-examinations that they could

   otherwise streamline based on depositions. Similarly, the inability to depose third-party fact

   witnesses will force Intervenors to either risk calling witnesses who don’t prove useful but expend

   precious time, or decline to call those witness, who may have been helpful, to save time.2

          Several orders from the bench at the Final Pretrial Conference, again, as the Court

   explained, justified by the need to maintain of the schedule, further aggravated the situation. First,

   the Court denied Intervenors’ request for a modest, bilateral extension to ten hours per side, even

   though this would not have required additional trial days. Pretrial Conf. Tr. (April 4, 2024) at 18:9-



   1 To be sure, some courts have held shorter racial gerrymandering trials. The court Harris v.

   McCrory, for example, held a three-day bench trial, as this Court intends to do. 159 F. Supp. 3d
   600, 604 (M.D.N.C. 2016). But there, trial commenced two years after the claim was filed and
   after extensive discovery that allowed the parties to streamline their trial presentations. Id. at
   609–10.
   2 Intervenors sought to alleviate these burdens and streamline the trial with stipulated facts.

   Plaintiffs declined to stipulate to many of Intervenors’ proposed facts.

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   20:22. That request reflected the underlying complexity of the case and the fact that, since the

   Court announced the eight-hours-per-side rule, the parties have noted ten “will call” witnesses and

   another nine “may call” witnesses. While the Court left open the possibility of revisiting that

   decision at the end of trial, that does not mitigate the harm to Intervenors. They must still plan a

   case and conduct all of their witness examinations on the assumption that they will have only eight

   hours.

            Second, and relatedly, the Court declined to admit the underlying expert reports into

   evidence, even where the expert is available for cross-examination at trial, meaning the parties

   must now spend precious trial time going into details of the experts’ opinions. There is no prejudice

   to the parties in admitting an expert’s written reports where the expert has been qualified by the

   court and can be cross-examined about their opinions, and the bilateral admission into evidence of

   expert reports in such circumstances is par-for-the-course in redistricting cases and bench trials

   generally.

            Third, the Court denied without explanation Intervenors’ motion in limine. See Doc. 142.

   Plaintiffs seek to introduce irrelevant evidence that substantially expands the scope of this case to

   encompass a range of factors potentially relevant under VRA Section 2 but not to Plaintiffs’ claim

   for racial gerrymandering. Again, while the Court left open the possibility of sustaining objections

   at trial, Intervenors must still prepare to rebut this testimony in their (portion of) eight hours.

            Fourth, the Court declined to strike the irrelevant and improper rebuttal testimony of Dr.

   Ben Overholt while denying Intervenors’ request for leave to offer expert testimony in response.

   See Doc. 145. Initially, at the April 4 Final Pretrial Conference, the Court indicated willingness to

   accept a rebuttal served by the end-of-day on April 5. Pretrial Conf. Tr. (April 4, 2024) at 4:25-

   5:7. When Intervenors made clear that a new expert, rather than one of Intervenors’ existing



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   experts, would be needed to offer this rebuttal opinion, id. at 5:8-5:24, 7:8-7:13, the Court reversed

   course and precluded that option, id. at 7:14-7:18. But the fact that Intervenors’ existing witnesses

   lack expertise in fields related to Dr. Overholt’s testimony only underscores that his is not proper

   rebuttal testimony, but a whole new opinion unmoored from any other experts in the case. The

   Court did not clarify why it would permit Intervenors to present this testimony from an existing

   witness, but not a new witness.

           These circumstances, taken together, have undermined Intervenors’ “right to the ‘integrity

   and accuracy of the fact-finding process,’” United States v. Thoms, 684 F.3d 893, 900 (9th Cir.

   2012) (quoting United States v. Bergera, 512 F.2d 391, 393 (9th Cir. 1975)). It is appropriate for

   the Court to exercise its discretion and continue trial for three weeks to allow limited time for

   additional fact and expert discovery.

       B. In The Alternative, The Court Should Reconsider its Decision to Advance the Trial

           on the Merits in this Case Pursuant to FRCP 65(a)(2)

           A continuance is the most appropriate course of action, because even holding a hearing on

   a preliminary injunction motion under these circumstances is highly prejudicial. But, at the very

   least, in the alternative, this Court should deconsolidate the full trial on the merits from the

   preliminary injunction hearing—a decision that was made based on an unopposed motion before

   either the Robinson Intervenors or State Intervenors were part of this case.

           This case, on its current schedule, is unsuitable for a consolidated trial under Federal Rule

   of Civil Procedure 65(a)(2). While the rule allows a court to “advance the trial on the merits and

   consolidate it with the [preliminary injunction] hearing,” FRCP 65(a)(2), the Supreme Court has

   held that “it is generally inappropriate for a federal court at the preliminary-injunction stage to give

   a final judgment on the merits.” Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981).


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   Consolidation must “still afford the parties a full opportunity to present their respective cases.” Id.

   (citation omitted). As a result, “[c]onsolidation is most appropriate when the relevant issues are

   solely legal, not factual, and the parties agree that they have had a full opportunity to introduce

   evidence in support of and argue their case.” Kyocera Document Sols. Am., Inc. v. Div. of Admin.,

   No. 23-cv-4044, 2023 WL 8868837, at *8 (D.N.J. Dec. 22, 2023). 3

          Unlike cases most suitable for Rule 65(a)(2) consolidation, this case is extraordinarily fact-

   heavy. Racial gerrymandering claims involve “a two-step analysis.” Cooper, 581 U.S. at 291. First,

   plaintiffs must prove “race was the predominant factor motivating the . . . decision to place a

   significant number of voters within or without a particular district,” Miller v. Johnson, 515 U.S.

   900, 916 (1995), and “that the legislature subordinated traditional race neutral districting principles

   . . . to racial considerations,” Bethune-Hill v. Va. State Bd. of Elections, 580 U.S. 178, 187 (2017).

   This “holistic analysis,” id. at 192, typically involves both direct and “circumstantial evidence,”

   Cooper, 581 U.S. at 291 (quoting Miller, 515 U.S. at 916). While this case should end at that first

   step because race did not predominate here, “[w]here a challenger succeeds in establishing racial

   predominance, the burden shifts to the State to demonstrate that its districting legislation is

   narrowly tailored to achieve a compelling interest.” Bethune-Hill, 580 U.S. at 193 (cleaned up).

   That, too, is an intensely factual inquiry, which requires an assessment of whether the State “ha[d]

   ‘good reasons to believe’ it must use race in order to satisfy the Voting Rights Act.” Id. at 194

   (quoting Ala. Legislative Black Caucus v. Alabama, 575 U.S. 254, 278 (2015)).



   3 It is important to acknowledge that at the time the Court ordered consolidation, no existing party

   opposed the effort. Doc. 63. The Secretary of State, the only Defendant at the time, did not oppose
   Plaintiffs’ proposal. Doc. 43-1. And it appears that the State Intervenor-Defendant’s defense of
   SB8 may forgo any argument that politics, not race, drove SB8, see Doc. 86, at 7-8, thus limiting
   many of the factual disputes at issue. With Robinson Intervenors’ more fulsome defense of SB8,
   that fact-heavy inquiry is at the core of this case.


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          As Intervenors described above, they have been stymied in their ability to develop and

   present their case. This situation precludes Rule 65(a)(2) consolidation. “[T]he Trial Judge must

   not force the parties by the consolidation to sacrifice their right to fully present the available

   evidence.” Dillon, 512 F.2d at 804; Wright & Miller, 11A Fed. Prac. & Proc. Civ. § 2950 (3d ed.)

   (“[T]he key is that the notice should provide a reasonable time to permit a litigant to prepare a

   showing upon which the final outcome of the case may depend”). That’s why consolidation is

   usually appropriate when a case can be decided on legal issues alone, rather than factual disputes

   or credibility determinations. Here, the nature of the claim and defenses requires both factual

   investigation and expert assessment. Even where courts consolidate more fact-heavy cases such as

   this one, they do so only after “grant[ing] the parties multiple continuances to allow them to gather

   evidence and prepare for trial.” Texas v. Garland, No. 5:23-CV-034-H, 2024 WL 814498, at *12

   (N.D. Tex. Feb. 27, 2024), superseded, No. 5:23-CV-034-H, 2024 WL 967838 (N.D. Tex. Feb.

   27, 2024).

          Once granted intervention, Intervenors have made every effort to hew to the schedule the

   Court had previously adopted. Lamentably, it is now clear that this schedule will prejudice their

   ability to present their case and violate their due process rights. Under the circumstances, it is

   necessary to either continue the consolidated trial sufficiently to ensure each party has fair

   opportunity to develop its case or to deconsolidate the full trial on the merits from the preliminary

   injunction hearing and grant a shorter continuance of the preliminary injunction hearing.

                                            CONCLUSION

          The Court should grant the Robinson Intervenors’ motion to continue the trial by three

   weeks, or, in the alternative, deconsolidate the merits with the preliminary injunction hearing and




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   continue the preliminary injunction hearing by one week. In either event, Intervenors further

   request that the court set the trial for four days to allow each side to fully present its case.



   DATED: April 6, 2024

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